             Case 1-17-46979-nhl        Doc 16     Filed 04/13/18    Entered 04/14/18 00:21:33

                                     United States Bankruptcy Court
                                     Eastern District of New York
In re:                                                                               Case No. 17-46979-nhl
Emil Y. Misshia                                                                      Chapter 7
Iman Asaad
         Debtors
                                       CERTIFICATE OF NOTICE
District/off: 0207-1          User: admin                 Page 1 of 2                  Date Rcvd: Apr 11, 2018
                              Form ID: 318DF7             Total Noticed: 30


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Apr 13, 2018.
db/jdb          Emil Y. Misshia,    Iman Asaad,    26 Ebbitts St,   Apt 3B,    Staten Island, NY 10306-4812
smg            +NYC Department of Finance,     345 Adams Street,   Office of Legal Affairs,
                 Brooklyn, NY 11201-3739
smg            +NYS Unemployment Insurance,     Attn: Insolvency Unit,   Bldg. #12, Room 256,
                 Albany, NY 12240-0001
9170575         05 Retro Fitness Tottenville,     1st Crd Srvc,   377 Hoes Ln,    Piscataway, NJ 08854-4138
9170576         1st Crd Srvc,    377 Hoes Ln,    Piscataway, NJ 08854-4138
9170589         Raymour & Flanigan,    Attn: Legal Dept,    7248 Morgan Rd,    Liverpool, NY 13090-4535
9170590         Rymr&flnign,    Des Moines, IA 50306
9170591         Synchrony Bank,    PO Box 41067,    Norfolk, VA 23541-1067
9170592         Synchrony Bank,    Portfolio Recovery,    PO Box 41067,   Norfolk, VA 23541-1067
9170593         The Bureaus Inc,    650 Dundee Rd Ste 370,    Northbrook, IL 60062-2757
9170594         The Bureaus Inc,    1717 Central St,    Evanston, IL 60201-1507
9170597         Verizon,   PO Box 650584,     Dallas, TX 75265-0584
9170598         Visa Dept Store National Bank/Macy’s,     Attn: Bankruptcy,    PO Box 8053,
                 Mason, OH 45040-8053

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg            +E-mail/Text: nys.dtf.bncnotice@tax.ny.gov Apr 11 2018 18:40:43
                 NYS Department of Taxation & Finance,    Bankruptcy Unit,    PO Box 5300,
                 Albany, NY 12205-0300
smg            +E-mail/Text: ustpregion02.br.ecf@usdoj.gov Apr 11 2018 18:39:28
                 Office of the United States Trustee,    Eastern District of NY (Brooklyn Office),
                 U.S. Federal Office Building,    201 Varick Street, Suite 1006,     New York, NY 10014-9449
9170578         EDI: AMEREXPR.COM Apr 11 2018 22:28:00      Amex,    Correspondence,    PO Box 981540,
                 El Paso, TX 79998-1540
9170577         EDI: AMEREXPR.COM Apr 11 2018 22:28:00      Amex,    PO Box 297871,
                 Fort Lauderdale, FL 33329-7871
9170580         EDI: CAPITALONE.COM Apr 11 2018 22:28:00      Capital One,    15000 Capital One Dr,
                 Richmond, VA 23238-1119
9170579         EDI: CAPITALONE.COM Apr 11 2018 22:28:00      Capital One,
                 Attn: General Correspondence/Bankruptcy,    PO Box 30285,    Salt Lake City, UT 84130-0285
9170581         EDI: CAPITALONE.COM Apr 11 2018 22:28:00      Capital One Bank,     PO Box 71083,
                 Charlotte, NC 28272-1083
9170582         EDI: CHASE.COM Apr 11 2018 22:28:00      Chase Card,    PO Box 15298,
                 Wilmington, DE 19850-5298
9170583         EDI: CHASE.COM Apr 11 2018 22:28:00      Chase Card Services,    Attn: Correspondence,
                 PO Box 15278,   Wilmington, DE 19850-5278
9170584         EDI: TSYS2.COM Apr 11 2018 22:28:00      Dsnb Macys,    PO Box 8218,    Mason, OH 45040-8218
9170586         EDI: MID8.COM Apr 11 2018 22:28:00      Midland Funding,    2365 Northside Dr Ste 30,
                 San Diego, CA 92108-2709
9170585         EDI: MID8.COM Apr 11 2018 22:28:00      Midland Funding,    2365 Northside Dr Ste 300,
                 San Diego, CA 92108-2709
9170588         EDI: PRA.COM Apr 11 2018 22:28:00      Portfolio Recovery Associates LLC,     PO Box 12914,
                 Norfolk, VA 23541-0914
9170587         EDI: PRA.COM Apr 11 2018 22:28:00      Portfolio Recov Assoc,    120 Corporate Blvd Ste 1,
                 Norfolk, VA 23502-4952
9170595         EDI: TFSR.COM Apr 11 2018 22:28:00      Toyota Motor Credit,    PO Box 8026,
                 Cedar Rapids, IA 52408-8026
9172999         EDI: BL-TOYOTA.COM Apr 11 2018 22:28:00      Toyota Motor Credit Corporation,
                 c/o Becket and Lee LLP,   PO Box 3001,    Malvern PA 19355-0701
9170596        +EDI: VERIZONCOMB.COM Apr 11 2018 22:28:00      Verizon,
                 Verizon Wireless Bankruptcy Administrati,    500 Tecnolgy Dr Ste 500,
                 Weldon Springs, MO 63304-2225
                                                                                               TOTAL: 17

           ***** BYPASSED RECIPIENTS *****
NONE.                                                                                       TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.
                 Case 1-17-46979-nhl              Doc 16        Filed 04/13/18         Entered 04/14/18 00:21:33




District/off: 0207-1                  User: admin                        Page 2 of 2                          Date Rcvd: Apr 11, 2018
                                      Form ID: 318DF7                    Total Noticed: 30


             ***** BYPASSED RECIPIENTS (continued) *****


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Apr 13, 2018                                            Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 11, 2018 at the address(es) listed below:
              Alan Nisselson    anisselson@windelsmarx.com,
               theston@windelsmarx.com;ahollander@windelsmarx.com;n159@ecfcbis.com;jryan@windelsmarx.com
              Kevin B Zazzera   on behalf of Joint Debtor Iman Asaad kzazz007@yahoo.com
              Kevin B Zazzera   on behalf of Debtor Emil Y. Misshia kzazz007@yahoo.com
              Office of the United States Trustee   USTPRegion02.BR.ECF@usdoj.gov
                                                                                            TOTAL: 4
               Case 1-17-46979-nhl                   Doc 16   Filed 04/13/18    Entered 04/14/18 00:21:33


Information to identify the case:
Debtor 1              Emil Y. Misshia                                          Social Security number or ITIN   xxx−xx−1328
                      First Name   Middle Name   Last Name                     EIN   _ _−_ _ _ _ _ _ _
Debtor 2              Iman Asaad                                               Social Security number or ITIN   xxx−xx−3099
(Spouse, if filing)
                      First Name   Middle Name   Last Name                     EIN   _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Eastern District of New York

Case number: 1−17−46979−nhl



Order of Discharge and Final Decree                                                                             Revised: 12/15



IT IS ORDERED:
A discharge under 11 U.S.C. § 727 is granted to:

           Emil Y. Misshia                                            Iman Asaad




IT IS FURTHER ORDERED:

        • Alan Nisselson (Trustee) is discharged as trustee of the estate of the above−named debtor(s) and
          the bond is cancelled.

        • The Chapter 7 case of the above−named debtor(s) is closed.



                                                                   BY THE COURT

Dated: April 11, 2018                                              s/ Nancy Hershey Lord
                                                                   United States Bankruptcy Judge




                          SEE THE BACK OF THIS ORDER FOR IMPORTANT INFORMATION.




Official Form 318DF7                         Chapter 7 Order of Discharge and Final Decree                  page 1
          Case 1-17-46979-nhl          Doc 16     Filed 04/13/18       Entered 04/14/18 00:21:33


                             EXPLANATION OF BANKRUPTCY DISCHARGE
                                      IN A CHAPTER 7 CASE
      This court order grants a discharge to the person(s) named as the debtor(s). It is not a dismissal of
the case and it does not determine how much money, if any, the trustee will pay to creditors.

Collection of Discharged Debts Prohibited

      The discharge prohibits any attempt to collect from the debtor(s) a debt that has been discharged.
For example, a creditor is not permitted to contact a debtor by mail, phone, or otherwise, to file or continue
a lawsuit, to attach wages or other property, or to take any other action to collect a discharged debt from
the debtor(s). A creditor who violates this order can be required to pay damages and attorney's fees to the
debtor(s).

       However, a creditor may have the right to enforce a valid lien, such as a mortgage or security
interest, against the debtor's property after the bankruptcy, if that lien was not avoided or eliminated in the
bankruptcy case. Also, a debtor may voluntarily pay any debt that has been discharged.
Debts That are Discharged
        The chapter 7 discharge order eliminates a debtor's legal obligation to pay a debt that is discharged.
Most, but not all, types of debts are discharged if the debt existed on the date the bankruptcy case was
filed. (If this case was begun under a different chapter of the Bankruptcy Code and converted to chapter 7,
the discharge applies to debts owed when the bankruptcy case was converted.)

Debts That are Not Discharged

    Some of the common types of debts which are not discharged in a chapter 7 bankruptcy case are:

    a. Debts for most taxes;

    b. Debts incurred to pay nondischargeable taxes (in a case filed on or after October 17, 2005);

    c. Debts that are domestic support obligations;

    d. Debts for most student loans;

    e. Debts for most fines, penalties, forfeitures, or criminal restitution obligations;

    f. Debts for personal injuries or death caused by the debtor's operation of a motor vehicle, vessel, or
    aircraft while intoxicated;

    g. Some debts which were not properly listed by the debtor;

    h. Debts that the bankruptcy court specifically has decided or will decide in this bankruptcy case are
    not discharged;

    i. Debts for which the debtor has given up the discharge protections by signing a reaffirmation
    agreement in compliance with the Bankruptcy Code requirements for reaffirmation of debts;

    j. Debts owed to certain pension, profit sharing, stock bonus, other retirement plans, or to the Thrift
    Savings Plan for federal employees for certain types of loans from these plans (in a case filed on or
    after October 17, 2005).

        In addition, this discharge does not stop creditors from collecting from anyone else who is also
liable on the debt, such as an insurance company or a person who cosigned or guaranteed a loan.

      This information is only a general summary of the bankruptcy discharge. There are
exceptions to these general rules. Because the law is complicated, you may want to consult an
attorney to determine the exact effect of the discharge in this case.

Official Form 318DF7             Chapter 7 Order of Discharge and Final Decree                 page 2
